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 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) 2:15-MJ-0040-AC
                                            ) 2:15-MJ-0041-AC
12                Plaintiff,                )
                                            ) STIPULATION AND ORDER
13         v.                               ) CONTINUING PRELIMINARY HEARING
                                            ) DATE
14   BRYCE BEAVER, and                      )
     SHAROD GIBBONS,                        )
15                                          ) Judge: Hon. Dale A. Drozd
                                            )
16                Defendants.               )
                                            )
17

18                                     STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendants, by and through their counsel of record, hereby

21   stipulate as follows:

22      1. By prior order, these matters were set for Preliminary Hearing

23         on August 7, 2015.

24      2. By this Stipulation, the parties now move to continue the

25         Preliminary Hearing until August 21, 2015, at 2:00 p.m.
26      3. By this Stipulation, the parties also move to set a Status of

27         Counsel Hearing for Sharod Gibbons on August 7, 2015, at 2:00

28         p.m.

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30   Stipulation to Continue P/H             1       United States v. Gibbons, et al.
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 1      4. Defendant Bryce Beaver made his initial appearance on March 4,

 2         2015.    Defendant Sharod Gibbons made his initial appearance on

 3         March 13, 2015.

 4      5. Both defendants are presently out of custody and being

 5         supervised by a Pretrial Services Officer.

 6      6. The United States has provided discovery to both defendants.

 7         This discovery consists of 30 CDs, including several hours of

 8         audio and video recordings.

 9      7. The parties have discussed a potential pre-indictment resolution

10         of this matter.     The parties need further time to discuss this

11         matter, discuss any potential consequences, and to allow counsel

12         for the defendants reasonable time necessary for preparation and

13         further investigation.

14      8. The defendants understand that pursuant to 18 U.S.C. § 3161(b),

15         “any information or indictment charging an individual with the

16         commission of an offense shall be filed within thirty days from

17         the date on which such individual was arrested.”         Time may be

18         excluded under the Speedy Trial Act if the Court finds that the

19         ends of justice served by granting such a continuance outweigh

20         the best interests of the public and the defendant in a speedy

21         trial.    18 U.S.C. § 3161(h)(7)(A).     The parties jointly move to

22         exclude time within which any indictment or information shall be

23         filed from the date of this order, through and including August

24         21, 2015, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), because

25         failure to do so would “deny counsel for the defendant . . . the

26         reasonable time necessary for effective preparation, taking into

27         account the exercise of due diligence.”

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30   Stipulation to Continue P/H             2       United States v. Gibbons, et al.
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 1      9. Good cause exists under Rule 5.1(d) of the Federal Rules of

 2         Criminal Procedure.

 3   IT IS SO STIPULATED.

 4

 5   DATED: August 5, 2015                 /s/ Justin L. Lee   _
                                         JUSTIN L. LEE
 6                                       Assistant U.S. Attorney
 7   DATED: August 5, 2015                 /s/ Kelly Babineau     _
                                         KELLY BABINEAU
 8                                       Attorney for Bryce Beaver
                                         (as authorized on August 4, 2015)
 9

10   DATED: August 5, 2015                 /s/ Jeffrey Fletcher     _
                                         JEFFREY FLETCHER
11                                       Attorney for Sharod Gibbons
                                         (as authorized on August 4, 2015)
12

13                                           ORDER
14         IT IS SO FOUND AND ORDERED, this 5th day of August, 2015.
15   Dated:    August 5, 2015
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30   Stipulation to Continue P/H               3       United States v. Gibbons, et al.
